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                                                                                 USDC DNJ
                                                                                 DOCUMENT
                                                                                 ELECTRONICALLY FILED
                       IN THE UNITED STATES DISTRICT COURT                       DOC #: ___________________
                          FOR THE DISTRICT OF NEW JERSEY                         DATE FILED: _______________
                                                                                              September 23, 2020




IN RE: VIDEO CONFERENCING AND                         :      SECOND EXTENSION
TELECONFERENCING FOR CRIMINAL                         :      OF AMENDED
PROCEEDINGS UNDER THE CARES ACT                       :      STANDING ORDER 2020-06



      WHEREAS, on March 13, 2020, a national emergency was declared under the National
Emergency Act, 50 U.S.C. § 1601, et. seq., in light of the COVID-19 pandemic;

       WHEREAS, on March 27, 2020, Congress enacted the Coronavirus Aid, Relief,
and Economic Security Act (“CARES Act”), authorizing the use of video and telephone
conferencing, under certain circumstances and with the consent of the defendant, for various
criminal case events during the course of the COVID-19 emergency, see The CARES Act,
H.R. 748, pursuant to certain findings by the Judicial Conference of the United States;

       WHEREAS, on March 29, 2020, the Judicial Conference found that emergency
conditions, consistent with the national emergency declared with respect to COVID–19,
will materially affect the functioning of the federal courts (“Judicial Conference’s finding”);
and

        WHEREAS, on March 30, 2020, pursuant to Sections 15002(b)(1) and (b)(2) of the
CARES Act, as Chief Judge, I found that criminal proceedings, and specifically, felony pleas
and felony sentencings, could not be conducted in person without seriously jeopardizing public
health and safety, and therefore entered Standing Order 2020-06, authorizing video and
telephone conferencing in criminal proceedings in conformance with the CARES Act, and
further ordered that the authorization in Standing Order 2020-06 would be reviewed 90 days
hence, or on June 28, 2020, pursuant to Section 15002(b)(3)(A) of the CARES Act, to determine
whether it should be extended;

       WHEREAS, on April 2, 2020, Standing Order 2020-06 was amended to provide a
reminder of the prohibition against photographing, recording, livestreaming on the internet
and rebroadcasting of court proceedings, consistent with Rule 53 of the Federal Rules of
Criminal Procedure;

        WHEREAS, on June 28, 2020, the afore-mentioned emergency declaration and Judicial
Conference’s finding remained in effect, and as Chief Judge, I found that felony pleas under
Rule 11 of the Federal Rules of Criminal Procedure and felony sentencings under Rule 32 of
the Federal Rules of Criminal Procedure could not be conducted in person in this Court without
seriously jeopardizing public health and safety, and therefore ordered the Extension of Amended
Standing Order 2020-06; and
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        WHEREAS, I further ordered in the Extension of Amended Standing Order 2020-06
that the authorization provided therein would be reviewed 90 days hence to determine whether
it should be further extended;

       WHEREAS, on this day, September 23, 2020, the afore-mentioned emergency
declaration and Judicial Conference’s finding remain in effect; and

        WHEREAS, I, as Chief Judge, find, pursuant to Section 15002(b)(1) of the CARES Act,
that criminal proceedings still cannot be conducted in person without seriously jeopardizing
public health and safety, and that pursuant to Section 15002(b)(2) of the CARES Act, felony
pleas under Rule 11 of the Federal Rules of Criminal Procedure and felony sentencings under
Rule 32 of the Federal Rules of Criminal Procedure also cannot be conducted in person in this
Court without seriously jeopardizing public health and safety; and

         WHEREAS, I, as Chief Judge, make the findings herein due to: (1) enhanced risks to a
defendant and others resulting from or attendant to the process of transfer from and to a detention
center to/from the Court; (2) enhanced risks to the population of a detention center attendant to
the physical participation of a defendant in a proceeding with a number of other participants
outside of such detention center followed by return of that defendant to a detention center from
outside of the detention center; (3) enhanced risks to proceeding participants attendant to such
persons convening in a central physical location after arriving there from disparate locales;
(4) on-going difficulty or inability due to medical privacy laws or otherwise to fully assess in
advance whether any participant in an in-person proceeding is at an enhanced medical risk due to
his/her specific circumstances; (5) that as to those defendants in pre-trial or pre-sentencing
custody, each of the detention centers utilized in this District maintain policies that require those
in custody to enter a fourteen (14) day period of isolation or quarantine upon return to a
detention center from any court appearance due to public health and safety concerns; (6) one or
more of those detention centers maintain policies limiting or prohibiting “in person” meetings
with legal counsel for public health and safety reasons; and (7) for public health and safety
reasons, this Court has not approved a “resumption of operations” phase whereby “in person”
proceedings can be or are to be routinely held; (8) for those same public health and safety
reasons, I have determined and find that upon more extensive restoration of operations, a very
limited number of courtrooms with limited staffing will be utilized so as to provide for the safe
and sanitary conduct of proceedings, and therefore, for public health and safety reasons and due
to that limitation on courtroom usage and staffing protocols for those reasons, requiring only “in
person” proceedings will necessarily contribute to a material delay in the conduct of proceedings
to which defendants would otherwise consent and would desire be conducted by video
conferencing to preserve and advance the ends of justice in their specific case; and

        WHEREAS, I further find that the above-listed conditions are expected to exist for all
or substantially all of the period of time covered by this Order, and that video and teleconference
proceedings held pursuant to the Court’s Orders of March 30, 2020 and June 28, 2020 have been
effective and have substantially furthered the ends of justice and have substantially avoided
causing serious harm to the interests of justice, particularly as to the interests of the defendants
who have consented to the same. Further, in these regards, I have also given due consideration to
the reasonable requests made by the United States Attorney’s Office, Federal Public Defender
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and CJA Panel Representative for this District that criminal docket proceedings proceed in any
prudent fashion while at the same time in-person, in-court proceedings be minimized to the
extent prudent, reasonably possible, and permitted by law in order to mitigate any enhanced
health and other risks to the participants in such proceedings; it is hereby

        ORDERED, pursuant to Section 15002(b)(3) of the CARES Act, that the authorization
in Amended Standing Order 2020-6 is further extended for an additional 90 days from the date
of this Order, unless this Order is terminated or vacated prior to such date according to the
procedures set forth in the last paragraph of this Order; and it is further

        ORDERED that, in lieu of personal appearance, and with the consent of the defendant
after consultation with counsel, video conferencing, or telephone conferencing if video
conferencing is not reasonably available, is continued to be authorized for use for and in all
proceedings pursuant to the terms of Section 15002(b) of the CARES Act, and more specifically
as to the following criminal proceedings as set forth in Section 15002(b)(1) of the CARES Act,
with the consent of the defendant or the involved juvenile as is required by law and after
consultation with counsel:

       1. Detention hearings under Section 3142 of Title 18, United States Code;

       2. Initial appearances under Rule 5 of Federal Rules of Criminal Procedure;

       3. Preliminary hearings under Rule 5.1 of Federal Rules of Criminal Procedure;

       4. Waivers of indictment under Rule 7(b) of Federal Rules of Criminal Procedure;

       5. Arraignments under Rule 10 of Federal Rules of Criminal Procedure;

       6. Probation and supervised release revocation proceedings under Rule 32.1 of Federal
          Rules of Criminal Procedure;

       7. Pretrial release revocation proceedings under Section 3148 of Title 18, United States
          Code;

       8. Appearances under Rule 40 of Federal Rules of Criminal Procedure;

       9. Misdemeanor pleas and sentencings as described in Rule 43(b)(2) of Federal Rules of
          Criminal Procedure; and

       10. Proceedings under chapter 403 of Title 18, United States Code (the “Federal Juvenile
           Delinquency Act”), except for contested transfer hearings and juvenile delinquency
           adjudication or trial proceedings; and it is further

       ORDERED that if a judge in an individual case finds, for specific reasons, that any
felony plea or felony sentencing, or any equivalent plea and sentencing, as well as proceedings
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under the Federal Juvenile Delinquency Act, cannot be further delayed without serious harm to
the interests of justice, then, with the consent of the defendant, or the juvenile, after consultation
with counsel, the plea, sentencing or any equivalent proceeding, may be conducted by video
conference, or by telephone conference if video conferencing is not reasonably available;
however, if for any reason, the defendant, either on bail or in custody, in a particular criminal
matter does not consent to video conferencing or telephone conference, the assigned judicial
officer may conduct the plea, sentencing or any equivalent proceeding through in-person
hearings.

         ORDERED that if, 90 days from the date of this Order, the emergency declaration
remains in effect, along with the Judicial Conference’s finding that the emergency conditions
will materially affect the functioning of the federal courts, the Chief Judge shall review the
authorization described in Amended Standing Order 2020-06 and determine whether it shall be
further extended. Pursuant to Section 15002(b)(3)(A) of the CARES Act, such review will occur
at least once every 90 days, until the last day of the covered emergency period, or until the Chief
Judge determines that the authorization is no longer warranted. Should the above-referenced
emergency declaration or the Judicial Conference’s finding terminate or be revoked prior to the
expiration of 90 days from the date of this Order, this Order may then be vacated according to
law.


DATED: September 23, 2020
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                                                               Hon. Freda L. W Wolfson
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                                                               U.S. Chief District Judge
                                                               District of New Jersey
